GOVERNMENT'S RESPONSE TO DEFENDANT SEDAGHATY'S PROPOSED TRIAL EXHIBITS

EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
A601 Constitution of Al Haramain Islamic Foundation Lack of foundation and authentication;
a (Saudi Arabia) Xx inadmissible hearsay
‘d 602 Lack of foundation and authentication; Double

P Monthly report and statement of purpose (PF) X hearsay

602A Monthly Report and Statement of Purpose
g Declaration of Cooperation Statement between
q Qu’ran Foundation and Al Haramain Foundation Lack of foundation and authentication;
9 March 6, 1998 Xx Inadmissible hearsay
602 B Signed Statement of Purpose Declaration of
4 Cooperation Statement between Qu'ran Lack of foundation and authentication;
uy Foundation and A] Haramain Foundation Xx Inadmissible hearsay
602 C Statement of Purpose and Declaration of
a Cooperation between Qu'ran Foundation and Al
y Haramain Islamic Foundation with printed
a signatures Solimon Al Buthe, Abu Unus, Dawood Lack of foundation and authentication;
g Rodgers, and Robert L. Brown Xx Inadmissible hearsay
4603 Letter March 31, 1998, Qu’ran Foundation to Al Lack of foundation and authentication;
ao Haramain Foundation Xx Inadmissible hearsay
604-605
opReserved
qd
Cd
606 Email January 1, 2000, 2:37 p.m. P to Al Buthe Xx
d607 Photograph Pete Seda and Solomon Al Buthe
ip under tree X
‘1608 Photograph Pete Seda, Rob Brown, John Dunn
QD and David Rodgers X

609 Photograph including Rob Brown, David Rodgers

and Pete Seda X
610 Photograph of 3800 South Highway 99 with camel X
611 Photograph of cultural tent at 3800 South Highway
99 X

EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION

612 Photograph Al Haramain building X

613 Photograph of David Rodgers with King Abduliah X
Q 614 Email June 26, 2000 AQ to b@af.org on his trip-
C and extremism X
ad6bi14A Attachment to June 26 2000 email June 25, 2000
fq Albuthe to AQ X
Ou
C 615-627
—|Reserved
Cq
$ 628 December 2, 1999, article from NY TIMES
q “McCain Urges Ending Aid To Russia In Wake Of Not in computers; Lack of Foundation and
oc Chechen Policy” Xx authentication; Inadmissible Hearsay
629 ABC News.com page, December 9, 1999, “Yeltsin Not in computers; Lack of Foundation and
| Lashes Out” x authentication; Inadmissible Hearsay
“1630 THE INDEPENDENT web page December 11,
\ 1999, “In A Powerless, Frozen City Of No Food,
a The Blind Hear The Bombs And Know There Is No
q Escape; Sarah Richards Toured Chechnya’s
a Capital As Russian Forces Closed In, And Was Not in computers; Lack of Foundation and
A Among The Last To Leave.” X authentication; Inadmissible Hearsay
a 631 TIME webpage December 13, 1999, “Campaign
<f 2000: Foreign Policy: Where McCain Hits Bush Not in computers; Lack of Foundation and
of The Hardest” X authentication; Inadmissible Hearsay
G 632 Doctors Without Borders webpage December 15, Not in computers; Lack of Foundation and
J 1999, “Chechnya: The Tracking of Civilians” Xx authentication; Inadmissible Hearsay
1633 CNN.com webpage December 16, 1999, “Albright Not in computers; Lack of Foundation and
éd Delivering ‘strong message’ to Russia” X authentication; Inadmissible Hearsay
(4634 CNN.com webpage December 18, 1999, “Russian In Computers but Rule of Completeness;
CG Bombardment Intensifies As Troops Close On Lack of foundation and authentication ;

Grozny” Xx Inadmissible hearsay
635 Webpage The Gazette, February 6, 2000, “Escape Not in computers; Lack of Foundation and
From Chechnya” X authentication; Inadmissible Hearsay

EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
636
Reserved
637 In Computers but Rule of Completeness;
Q CNN web page February 16, 2000, “NATO, Russia Lack of foundation and authentication ;
Relax Tense Relations” X Inadmissible hearsay
‘1638
Reserved
639 Article Ria Novosti February 28, 2000, “Saudi Not in computers; Lack of Foundation and
g Arabia to Provide Humanitarian Aid For Refugees” Xx authentication; Inadmissible Hearsay
640 Human Rights Watch Report February 29, 2000,
oY “War Crimes In Chechnya And The Response Of Not in computers; Lack of Foundation and
The West” Xx authentication; Inadmissible Hearsay
q
i641 In Computers but Rule of Completeness;
CNN.com February 21, 2000 Russia Chechnya Lack of foundation and authentication ;
q webpage X Inadmissible hearsay
S 642 Not in computers; Lack of Foundation and
q CNN.com Website Pages March 22-31, 2000 authentication; Inadmissible Hearsay
qd
4643 UN Commission on Human Rights Resolution of Not in computers; Lack of Foundation and
g April 25, 2000 X authentication; Inadmissible Hearsay
q 643 A United Nations Foundation U.N. wire April 26,
qj 2000, “U.N. Seeks Inquiry Into Violations In Not in computers; Lack of Foundation and
q Chechnya” Xx authentication; Inadmissible Hearsay
A644 MSF-USA special report, November 22, 2000, Not in computers; Lack of Foundation and
c Chechnya, The Politics Of Terror Xx authentication; Inadmissible Hearsay
645 United Nations Hign Commissioner for Human Not in computers; Lack of Foundation and
4 Rights Resolution 2001/24 Xx authentication; Inadmissible Hearsay
d 646 U.S. Senate Committee on Foreign Relations, Not in computers; Lack of Foundation and
g Joseph R. Biden, February 12, 2004 X authentication; Inadmissible Hearsay
647 Not in computers; Lack of Foundation and
State Department Russia Country Report 1999 X authentication; Inadmissible Hearsay
648 Not in computers; Lack of Foundation and
State Department Russa country Report 2000 X authentication; Inadmissible Hearsay

EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
649 Not in computers; Lack of Foundation and
State Department Russia Country Report 2001 Xx authentication; Inadmissible Hearsay
650 NY Times 10/30/99 "Fears Rise for Chechen Not in computers; Lack of Foundation and
oF Refugees as Winter Nears" X authentication; Inadmissible Hearsay
Ss 651
Reserved
om)
ql652 Congressional Research Service Report for
Congress: Chechnya Conflict: Recent Not in computers; Lack of Foundation and
oO developments (May 3, 2000) X authentication; Inadmissible Hearsay
a]653 News article U.S. : Chechen Officials Hold Talks at Not in computers; Lack of Foundation and
a State Department (February 2, 2000) Xx authentication; Inadmissible Hearsay
q1654 Time.com News Article, Why Russia May Keep Not in computers; Lack of Foundation and
id Chechen Capital in Ruins (February 7, 2000) X authentication; Inadmissible Hearsay
4655 Exhibit Not Listed
1656-663
Reserved
4664 Email September 18, 2001 from Florin to Pete Florin document; Lack of Foundation and
q Seda plus attachment Xx authentication; Inadmissible Hearsay
664A September 21, 2001, 9:25 a.m. P to Council of Lack of foundation and authentication;
al American Islamic Relations plus attachment X Inadmissible hearsay
<j
{665 Email September 21, 2001, 9:33 a.m. P to Lack of foundation and authentication;
S ClC@cicnow.com xX Inadmissible hearsay
4 666-667
qd
a Reserved
(4668 Bank of America check and traveler's check
d purchase X
(e69 Email January 11, 2000, 14:38:08 S-El Fiki to
Haramain X
670 Email January 18, 2000, Haramain to S. El Fiki X
671 Email February 21, 2000, 9:12 a.m. head office to
S. El Fiki X

EXHIBIT
NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
672 February 21, 2000, Letter Aqeel to El Fiki Xx
673 February 14, 2000, Fax S. El Fiki to Nasir Eid
National Bank of Kuwait X
Oo
‘673A English translation of February 14, 2000, Fax S. El
< Fiki to Nasir Eid National Bank of Kuwait Xx
4673 B Declaration of Translation of February 14, 2000,
A Fax S. El Fiki to Nasir Eid National Bank of Kuwait Xx
4674 Email February 24, 2000 P to Al Buthe RE money
S transferred X
qa
S675 Reserved
q
7 676 Email March 27, 2000, 8:36 a.m. Al Haramain to S.
S El Fiki X
uy
677 Letter April 13, 2000, Mahmoud T. El Fiki from
‘| National Bank of Kuwait X
“I678 Redacted FBI 302 interview report of Mahmoud Lack of foundation and authentication;
q Talaat El Fiki, investigation on January 31, 2005 X Inadmissible hearsay; No witness
q
679 Kuwait Bank record for El Fiki X
a 680 Email May 11, 1999 Barhoush to Haramain et al Not in computers; Lack of Foundation and
Subject: Urgent Albanian Translation Xx authentication; Inadmissible Hearsay
4680 A Email Abdul Qaadir to Haramain May 11, 1999 Not in computers; Lack of Foundation and
a Report of Committee on Albania X authentication; Inadmissible Hearsay
4681 Email December 11, 1999, Abdul Qaadir to Qur'an
+ and Sunnah Net Group; Jeddah-
ul Net@muslimsonline.com X
682 Email December 28, 1999, 4:26 p.m. from Info to Lack of foundation and authentication;
q Info@irw.org X Inadmissible hearsay; No witness
683 in computers but need a witness; Lack of
foundation and authentication; Inadmissible
Email December 30, 1999, 8:50 p.m. P to Al Buthe X hearsay;
683A In computers but need a witness; Lack of
Attachment to email Statement in Spanish and foundation and authentication; Inadmissible
English from Ayuda Internacional Al Desplazado xX hearsay;

EXHIBIT
NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
683 B in computers but need a witness; Lack of
Email from Al buthe to P December 31, 1999 foundation and authentication; Inadmissible
Human Help for Chechnya X hearsay;
oO
N683 C In computers but need a witness; Lack of
q Email January 1, 2000 P to Albuthe RE Horrible foundation and authentication; Inadmissible
« Condition X hearsay;
7683 D In computers but need a witness; Lack of
Oo Email from Al Buthe to P, January 2, 2000 at 4:58 foundation and authentication; Inadmissible
AM Xx hearsay;
q 684 In computers but need a witness; Lack of
oq Email from Head Office to Bilal Ibrahim with cc to foundation and authentication; Inadmissible
cq Pete, January 3, 2000 at 3:10 AM Xx hearsay;
qa
4 685 Email from Abdul-Qaadir to q@of.org, January 4,
2000 at 1:00 AM Xx
1685 A Email attachment January 4, 2000 at 1:00 AM X
N
“686 In computers but need a witness; Lack of
qf foundation and authentication; Inadmissible
q Email January 6, 2000, 1:35 a.m. Al Buthe to P Xx hearsay;
t686 A In computers but need a witness; Lack of
C foundation and authentication; Inadmissible
Email January 6, 2000, 1:37 a.m. Al Buthe to P Xx hearsay;
of686 B in computers but need a witness; Lack of
g Email January 7, 2000, 3:48 p.m. Info to foundation and authentication; Inadmissible
q Info@irw.org X hearsay;
d 686 C ln computers but need a witness; Lack of
if Email January 12, 2000, 5:43 p.m. Info to foundation and authentication; Inadmissible
‘ Info@irw.org X hearsay;
D687 Email Daveed Gartenstein-Ross to P January 17,
OD 2000 X
687A Email P to Daveed Gartenstin-Ross January 17,
2000 Xx

EXHIBIT
NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
687 B Email Chain P to B February 21, 2000, including
Daveed Gartenstein-Ross to P 1/17/2000 RE
Horrible Condition and P to Al Buthe 1/1/2000 RE
Horrible Condition X
687 C Email P to Daveed Gartenstein-Ross January 18,
q 2000 plus attachment xX
4687 D Email P to Daveed Gartenstein-Ross January 18,
al 2000 X
cj688 In computers but need a witness; Lack of
J foundation and authentication; Inadmissible
q Email Ashland to Al Buthe January 18, 2000 X hearsay; Lack of relevance
A688 A Email January 22, 2000, 11:23 p.m. Ashland to Al Need a witness; Lack of foundation and
a Buthe X authentication; Inadmissible hearsay;
uw 689 Letter January 24, 2000, Pete Seda to Responsible
- Secretariet of Federation Committee for Need a witness; Lack of foundation and
< International Technical Humanitarian Cooperation X authentication; Inadmissible hearsay;
+689 A Email January 27, 2000, 10:08 a.m. info to Need a witness; Lack of foundation and
a Info@irw.org , Xx authentication; Inadmissible hearsay;
4690 Email AQ to Sheeshan February 3, 2000 X
gq
Cle94 Email P to Daveed Gartenstein-Ross February 4,
4 2000 X
“1691 A Email P to Daveed Gartenstein-Ross February 8,
q 2000 X
o
4692 In computers but need a witness; Lack of
q foundation and authentication; Inadmissible
Lg Email Q to AQ February 12, 2000 xX hearsay; Attachments not relevant to e-mail
qh692 A Lack of Foundation and authentication;
a Email from Q to Sunnah, February 12, 2000, with Inadmissible hearsay; Attachment not
C path to Time.com, Photo Essay RE: Grozny Xx relevant to e-mail
692 B Lack of Foundation and authentication;
Photographs Time.com photo essay, Russian inadmissible hearsay; Attachement not
Soldiers Rest in Downtown Grozny xX relevant to e-mail

EXHIBIT
NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
692C Lack of Foundation and authentication;
Inadmissible hearsay; Attachment not
Blinded and Bound, Chechen Civilians xX relevant to e-mail
21692 D Lack of Foundation and authentication;
Inadmissible hearsay; Attachment not
S Chechen Men in Pit Xx relevant to e-mail
4692 E Lack of Foundation and authentication;
al Inadmissible hearsay; Attachment not
Chechen Boy in Cellar X relevant to e-mail
Co
1692 F Lack of Foundation and authentication;
q Inadmissible hearsay; Attachment not
og Chechen Woman with Son Xx relevant to e-mail
d 692G Lack of Foundation and authentication;
iW Inadmissible hearsay; Attachment not
Fallen City Xx relevant to e-mail
1693 Need a witness; Lack of foundation and
S Email P to Al Buthe February 15, 2000 X authentication; Inadmissible hearsay;
ad693 A Probably in computers but need a witness;
g Lack of foundation and authentication;
g Email The Arborist to Al Buthe February 17, 2000 X Inadmissible hearsay;
Cc 693B Probably in computers but need a witness;
<j Lack of foundation and authentication;
q Email P to B February 19, 2000 Xx Inadmissible hearsay;
{693 C Email P to Al Haramain February 20, 2000 X
a 694 Need a witness; Lack of foundation and
a Email February 20, 2000 The Arborist to B@qf.org Xx authentication; Inadmissible hearsay;
(d694A Need a witness; Lack of foundation and
q Email P to MCA February 21, 2000 Xx authentication; Inadmissible hearsay
G 694B Email February 21, 2000, 11:34 p.m. from the Need a witness; Lack of foundation and
Arborist to B@af.org X authentication; Inadmissible hearsay
694C Email February 21, 2000, 10:54 a.m. The Arborist Need a witness; Lack of foundation and
to B@af.org X authentication; Inadmissible hearsay
694 D Email February 21, 2000, 5:48 p.m. The Arborist to Need a witness; Lack of foundation and
B Xx authentication; Inadmissible hearsay

EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
694 E Need a witness; Lack of foundation and
Web page Medecins Sans Frontieres Xx authentication; Inadmissible hearsay
01694 F Need a witness; Lack of foundation and
Ns authentication; Inadmissible hearsay; Lack of
q Web page United Nations X relevance
4695 Email Chain P to B February 21, 2000 including P
a to Daveed Gartenstein-Ross /19/2000and Daveed
oy Gartenstein-Ross to P 2/8/2000 RE: Chechnya X
=|696 Email AQ to Sheeshaan February 23, 2000 X
$ 697 In computers but need a witness; Lack of
Cq Email February 29, 2000, 12:16 p.m. P to foundation and authentication; Inadmissible
q B@af.org X hearsay
W697 A Florin document; Lack of Foundation and
Email Q to PJ Florin February 29, 2000 X authentication; Inadmissible Hearsay
“A697 B In computers but need a witness; Lack of
4 foundation and authentication; Inadmissible
o Email P to B March 1, 2000 X hearsay, Lack of relevance
8698 Memorandum March 1, 2000, Catherine Granel
a from Bilal Abdul-Kareem, “Aid to the People of Need a witness; Lack of foundation and
q Chechnya” X authentication; Inadmissible hearsay
{698 A Email Q to Granel March 1, 2000 with Memo to Need a witness; Lack of foundation and
<q Bilal X authentication; Inadmissible hearsay
od
4698 B Not in computers; Lack of Foundation and
C Web page Doctors of the World Staff 2000 Xx authentication; Inadmissible Hearsay
a 698 C Need a witness; Lack of foundation and
is Email March 1, 2000, 10:55 a.m. Q to P@qf.org Xx authentication; Inadmissible hearsay
q 698 D Email March 1, 2000, 11:29 a.m. P to Florin document; Lack of Foundation and
Y PJFlorin@jeffnet.org X authentication; Inadmissible Hearsay
698 E Letter March 1, 2000 Bilal to Catherine Granel RE: Florin document; Lack of Foundation and
Aid to the people of Chechnya X authentication; Inadmissible Hearsay
698 F Email March 1, 2000, 12:28 p.m. P to Q RE: Letter Need a witness; Lack of foundation and
to Doctors x authentication; Inadmissible hearsay

EXHIBIT
NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
698 G Letter Attachment to March 1, 2000 email Subject: Need a witness; Lack of foundation and
Aid to the People of Chechnya Xx authentication; Inadmissible hearsay
698 H Need a witness; Lack of foundation and
QI Email Q to The Arborist March 3, 2000 Xx authentication; Inadmissible hearsay
4699 Need a witness: Lack of foundation and
7 Email P to Al Buthe March 3, 2000 Xx authentication; Inadmissible hearsay
qd
699 A Need a witness; Lack of foundation and
ao Email March 4, 2000 p to q@af.org Xx authentication; Inadmissible hearsay
4699 B Need a witness; Lack of foundation and
Attachment to Email March 4, 2000 X authentication; Inadmissible hearsay
N
4 700 Email March 5, 2000 P to b@qf.org FW: | need
¢ your help! X
701 Email March 15, 2000 from Info to Harith RE Eid Lack of foundation and authentication;
Mubarak Xx Inadmissible hearsay
ATZO01A Lack of foundation and authentication;
g April 2, 2001, 9:58 a.m. ClIC@cicnow.com x Inadmissible hearsay
ab702-703
g Reserved
q
1704 A Need AHIF Saudi Arabia witness; Lack of
Al Haramain Islamic Foundation receipt No. foundation and authentication; Inadmissible
<j 262740 X hearsay
4704 B Need AHIF Saudi Arabia witness; Lack of
g English translation of Al Haramain Islamic foundation and authentication; Inadmissible
q Foundation receipt No. 262740 Xx hearsay
a TO5A Need AHIF Saudi Arabia witness; Lack of
a foundation and authentication; Inadmissible
4 Al Haramain receipt no. 263867 X hearsay
705 B Need AHIF Saudi Arabia witness; Lack of
Y English translation of Al Haramain receipt no. foundation and authentication; Inadmissible
263867 Xx hearsay
706A Need AHIF Saudi Arabia witness; Lack of
Al Haramain log page of receipts no. 262740 & foundation and authentication; Inadmissible
263867 Xx hearsay

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EXHIBIT
NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
706B Need AHIF Saudi Arabia witness; Lack of
English translation of Al Haramain log page of foundation and authentication; Inadmissible
receipts no. 262740 & 263867 X hearsay
N707A Need AHIF Saudi Arabia witness; Lack of
a Affidavit of Al Haramain Islamic Foundation, foundation and authentication; Inadmissible
5 executed May 3, 2004 X hearsay
4707 B Need AHIF Saudi Arabia witness; Lack of
Al Certificate of translation of Affidavit of Al Haramain foundation and authentication; Inadmissible
Islamic Foundation, executed May 3, 2004 X hearsay
a
=1707C English translation of Certificate of translation of Need AHIF Saudi Arabia witness; Lack of
q Affidavit of Al Haramain Islamic Foundation, foundation and authentication; Inadmissible
a executed May 3, 2004 X hearsay
qG/08-712
ulReserved
713 Need witness; Lack of foundation and
N Al Suwailem Declaration Xx authentication; Inadmissible hearsay
4 714A Need witness; Lack of foundation and
qd Diwan Presidency of Counsel of Ministers X authentication; Inadmissible hearsay
4714B English translation of Diwan Presidency of Counsel Need witness; Lack of foundation and
g of Ministers Xx authentication; Inadmissible hearsay
d 715A Diwan memo to His Royal Highness Minister of Need witness; Lack of foundation and
< Interior re: Chechen Relief and SJRC X authentication; Inadmissible hearsay
4716 B English translation of Diwan memo to His Royal
a Highness Minister of Interior re: Chechen Relief Need witness; Lack of foundation and
6 and SJRC X authentication; Inadmissible hearsay
q
i 716A Kingdom of Saudi Arabia, Saudi Joint Relief
a Committee (SJRC) for the Aid of the People of Need witness; Lack of foundation and
q Kosovo xX authentication; Inadmissible hearsay
5 716B English translation of Kingdom of Saudi Arabia,
Saudi Joint Relief Committee (SURC) for the Aid of Need witness; Lack of foundation and
the People of Kosovo X authentication; Inadmissible hearsay
T17A Memo to his Excellency Minister of Finance and Need witness; Lack of foundation and
National Economy X authentication; Inadmissible hearsay

EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
717B English translation of Memo to His Excellency Need witness; Lack of foundation and
Minister of Finance and National Economy Xx authentication; Inadmissible hearsay
718A Need witness; Lack of foundation and
QI Order of King Fahad Bin Abdulaziz Al-Saud X authentication; Inadmissible hearsay
al 718B English translation of Order of King Fahad Bin Need witness; Lack of foundation and
— Abdulaziz Al-Saud X authentication; Inadmissible hearsay
q
d719A Al Haramain Humanitarian Foundation Need witness; Lack of foundation and
QO memorandum November 4, 1999 Xx authentication; Inadmissible hearsay
S719B English translation of Al Haramain Humanitarian Need witness; Lack of foundation and
aq Foundation memorandum November 4, 1999 Xx authentication; Inadmissible hearsay
94720 A Telegram to the Minister of the Interior, re: Saudi Need witness; Lack of foundation and
a Joint Committee November 10, 1999 X authentication; Inadmissible hearsay
q
i720B English translation of Telegram to the Minister of
the Interior, re: Saudi Joint Committee November Need witness; Lack of foundation and
7 10, 1999 Xx authentication; Inadmissible hearsay
S 721A Minutes of meeting of the Chechnya
c Committee/Saudi Joint Relief Committee January Need witness; Lack of foundation and
a 1, 2000 Xx authentication; Inadmissible hearsay
q 721B English translation of Minutes of meeting of the
a Chechnya Committee/Saudi Joint Relief Need witness; Lack of foundation and
Committee January 1, 2000 X authentication; Inadmissible hearsay
4722 A Memo from Al Haramain Charity Foundation Need witness; Lack of foundation and
og January 4, 2000 X authentication; Inadmissible hearsay
qj
7228 English translation of memo from Al Haramain Need witness; Lack of foundation and
4 Charity Foundation January 4, 2000 X authentication; Inadmissible hearsay
41723 A Report of Saudi Joint Relief Committee for Kosovo
and Chechnya (Chechnya Committee) February Need witness; Lack of foundation and
q 15, 2000 X authentication; Inadmissible hearsay
723 B English translation of Report of Saudi Joint Relief
Committee for Kosovo and Chechnya (Chechnya Need witness; Lack of foundation and
Committee) February 15, 2000 X authentication; Inadmissible hearsay
T24A Brief report what Chechnya Committee has Need witness; Lack of foundation and
achieved abroad X authentication; Inadmissible hearsay

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EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
724B English translation of brief report what Chechnya Need witness; Lack of foundation and
Committee has achieved abroad X authentication; Inadmissible hearsay
725A Declaration of Viadimir Matusevitch August 23, Need witness; Lack of foundation and
Q3 2004 X authentication; Inadmissible hearsay
oy 725 B Accord between Russian Ministry and Saudi Joint
Relief Committee for Kosovo and Chechnya in Need witness; Lack of foundation and
x Russian and Arabic X authentication, Inadmissible hearsay
017950 English translation from Arabic of Memo of Accord
oO between Russian Ministry and Saudi Joint Relief Need witness; Lack of foundation and
4 Committee for Kosovo and Chechnya X authentication; Inadmissible hearsay
a 725D English translation from Russian of Russian and
oO Arabic language version of Accord between
aq Russian Ministry and Saudi Joint Relief Committee Need witness; Lack of foundation and
in for Kosovo and Chechnya X authentication; Inadmissible hearsay
4725E Russian language version of Certificate 9927 of the Need witness; Lack of foundation and
4 State Registration Chamber X authentication; Inadmissible hearsay
21725 F English translation of Certificate 9927 of the State Need witness; Lack of foundation and
q Registration Chamber X authentication; Inadmissible hearsay
726A Telegram regarding Al Haramain, Chechnya and Need witness; Lack of foundation and
q Saudi Joint Relief Committee June 2, 2003 X authentication; Inadmissible hearsay
726 B
4 English translation of telegram regarding Al
od Haramain, Chechnya and Saudi Joint Relief Need witness; Lack of foundation and
Committee June 2, 2003 X authentication; Inadmissible hearsay
OD
727A Telegram to Al Raji Banking and Investment Need witness; Lack of foundation and
q Corporation March 14, 2004 xX authentication; Inadmissible hearsay
Le
o 727B English translation of Telegram to Al Raji Banking Need witness; Lack of foundation and
and Investment Corporation March 14, 2004 Xx authentication; Inadmissible hearsay
(1728 A Confirmation from Minister of Justice regarding Al Need witness; Lack of foundation and
Haramain Islamic Foundation March 21, 2004 Xx authentication; Inadmissible hearsay
728B English translation of Confirmation from Minister of
Justice regarding Al Haramain Islamic Foundation Need witness; Lack of foundation and
March 21, 2004 X authentication; Inadmissible hearsay

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EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
729A Statement from Al Haramain Charity Foundation Need witness; Lack of foundation and
May 3, 2004 X authentication; Inadmissible hearsay
729B English translation of Statement from Al Haramain Need witness; Lack of foundation and
a Charity Foundation May 3, 2004 Xx authentication; Inadmissible hearsay
<730 Unclassified summary regarding monies destined The government objects to this exhibit only as
= for needy Chechen families Xx to form.
q
a731 Al Haramain Website list of Al Haramain bank
Oo accounts X
= 732-747
& Reserved
748 Handwritten document captioned “Wire Transfer”
q top line $2767 X
i 749A Email December 30, 1999 8:20 a.m. Tom to Pete
Seda Xx
4 749B Proposal attachment to email: Letter Tom Wilcox
‘i to Pete Seda December 30, 1999 xX
4750 Engagement letter from Tom Wilcox to Pete Seda X
d 751 Handwritten list, top line 2/24/2000 Mahmoud T. El
a Fiki Xx
<(752 Check #9733 June 23, 2000 X
1753 Check #9733 6/23/2000 x
Oo
754.42318 | |2000 Form 990 X
5754.42335 | [2000 Stte CT-12 Return X
Oo
‘4754.42477 | |2001 Form 990 X
q
s 754.42494 | [2001 State CT-12 Return x
754.42532 Letter from Internal Revenue Service to Al
Haramain dated September 2, 2002 Xx
754.42533 Letter from Internal Revenue Service to Al
Haramain dated February 20, 2002 X

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EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
754.42540 | |Letter from OR DOJ to Al Haramain dated October
30, 2001 X
754.42659 Letter from OR DOJ to Al Haramain dated June 19,
I 2001 X
ic 754.42703 Letter from OR Dept of Revenue to Al Haramain
4 dated August 8, 2000 X
q
a 754.42810 Letter from Internal Revenue Service to Al
Qo Haramain dated May 31, 2002 Xx
4754.42895 Letter from OR DOJ to Al Haramain dated
S February 22, 2001 X
N
4 754.42896 | 11999 Form 990 X
a
4754.43005 | |1998 Corporate Return Form 1120 X
754.43014 | |Oregon Corporation excise tax return 1998 X
| 754.43075 Letter from Internal Revenue Service to Al
x Haramain dated December 7, 2000 Xx
a 754.43104 Letter from Internal Revenue Service to Al
q Haramain dated October 13, 2000 X
6 754.43111 Letter form Tom Wilcox to OR DOJ dated
September 22, 2000 Xx
4 754.43112 Letter form OR DOJ to Al Haramain dated
cq September 7, 2000 Xx
S 754.43127 Letter from Tom Wilcox to Internal Revenue
¢ Service dated September 25, 2000 xX
qd
i 754.43129 Letter form Internal Revenue Service to Al
: Haramain dated September 6, 2000 Xx
Y 754.43156 Letter from Tom Wilcox to Internal Revenue
4 Service dated August 17, 2000 xX
754.43158 Letter from Internal Revenue Service to Al
Haramain dated March 24, 2000 Xx
754.43193 | |1023 Application Xx

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EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
754.43219 Letter from OR DOJ to Al Haramain dated January
14, 2004 Xx Irrelevant 2004 tax year documents
754.43220 Letter from Internal Revenue Service to Al
Q3 Haramain dated February 9, 2004 X Irrelevant 2004 tax year documents
col 154.43238 Letter from Internal Revenue Service to Al
oq Haramain dated March 16, 2000 X
Y
aq 754.43252 Letter from OR DOJ to Al Haramain dated July 26,
e 2000 X
754.43257 Letter from OR DOJ to Al Haramain dated April 11,
a 2000 X
21'754.43337 Letter from Internal Revenue Service to Al
ag Haramain dated December 22, 2003 X
i] 754.43340 Letter from OR DOJ to Al Haramain dated
November 21, 2003 Xx
4754.43341 Letter from OR DOJ to Al Haramain dated October
g 16, 2003 X
0754.43356 Letter from OR DOJ to Al Haramain dated June 4,
E 2003 X
Q 754.43360 Letter from OR DOJ to Al Haramain dated April 4,
a
2001 X
$ 754.43411 Letter from OR DOJ to Al Haramain dated October
Oo 30, 2000 Xx
C1 754.43433 Letter from Tom Wilcox to Internal Revenue
Service dated January 3, 2002 Xx
g
1 754.43434 Letter from Internal Revenue Service to Al
2 Haramain dated December 31, 2001 X
754.43437 Letter from Tom Wilcox to Internal Revenue
% Service dated October 2, 2001 X
754.43438 Letter form Internal Revenue Service to Al
Haramain dated September 24, 2001 X
754.43447 Letter from OR DOJ to Al Haramain dated August
24, 2001 X

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EXHIBIT
NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
754.43459 | |1999 State CT-12 Return X
754.43462 Letter from Tom Wilcox to OR DOJ dated January
8, 2001 X
Oo}
4754.43487 Letter from Internal Revenue Service to Al
N Haramain dated February 4, 2000 X
0754.4351 2 Letter from Internal Revenue Service to Al
q Haramain dated June 1, 2000 Xx
754.43660 Letter from Internal Revenue Service to Al
q Haramain dated April 18, 2001 X
SI
3 755.1 Email from P to Tom Wilcox, May 14, 2001 X
qd
4755.2 Attachment to 755.1 - QuickBooks File Xx
Ss
uw755.3 Floppy Disk from Tom Wilcox, Labeled "Al
Haramain 6/14/2001 ." Xx
1755.4 QuickBooks file located on 755.3 X
4755.5 Email January 7, 2002 form Tom Wilcox to P X
ab
$755.6 Attachment to 755.5 - QuickBooks File xX
q
A 755.7 TBD xX Defense has not provided exhibit
a756 Emaii January 2, 2000, 1:13 p.m. P to Ms. Need witness; Lack of foundation and
4 Katkhouda X authentication; Inadmissible hearsay
C 757-758
@Reserved
A759 Email February 26, 2000, 12:45 a.m. from Al Buthe
q to P@af.org X
2760 Email March 6, 2000 Al Shoumar to q@af.org Xx
O760 A Attachment to Email March 6, 2000 Al Shoumar to
q@af.org X
761 Email from Q to P March 7, 2000, Six months
budget with attachment X

17

EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
762 Email form P to Shoumar January 3, 2001 RE Need witness; Lack of foundation and
springfield@alharamain.org X authentication; Inadmissible hearsay
o 763-800
“Reserved
4
04801 Email April 1, 2000, 3:07 p.m. P to Raya Need witness; Lack of foundation and
‘a Shokatford xX authentication; Inadmissible hearsay
802 Need witness; Lack of foundation and
a Letter Proposal April 11, 2000, Pete Seda X authentication; Inadmissible hearsay
803 A Email April 12, 2000, 11:57 a.m. Florin document; Lack of Foundation and
q PJFlorin@jeffnet.org to Pete Seda 3 X authentication; Inadmissible Hearsay
4803 B Florin document; Lack of Foundation and
qT Draft greetings letter.doc attached to email X authentication; Inadmissible Hearsay
i 803C Draft public relations letter re Islam attached to Florin document; Lack of Foundation and
email xX authentication; Inadmissible Hearsay
5 803 D Florin document; Lack of Foundation and
Ss Draft Greeting Letter (PF) X authentication; Inadmissible Hearsay
4
q 803 E Florin document; Lack of Foundation and
5 Draft greeting letter (short version) PF X authentication; Inadmissible Hearsay
q
4803 F Florin document; Lack of Foundation and
Letter April 11, 2000 Public relation plan (PF) X authentication; Inadmissible Hearsay
1804 A Email April 18, 2000, 3:05 p.m. PJFlorin Florin document; Lack of Foundation and
oY @jeffnet,org to Pete Seda 3 X authentication; Inadmissible Hearsay
q
4804 B Florin document; Lack of Foundation and
Draft Jewish Community letter attached Xx authentication; Inadmissible Hearsay
q 804C Draft anti-terrorism letter to Sheik Aqeel attached Florin document; Lack of Foundation and
‘hb to April 11, 2000, email Xx authentication; Inadmissible Hearsay
804 D Florin document; Lack of Foundation and
Letter to April 18, 2000 to Rabbi Zaslow (PF) Xx authentication; Inadmissible Hearsay
804 E Florin document; Lack of Foundation and
Letter April 18, 2000 to Rabbi Sirinski (PF) X authentication; Inadmissible Hearsay
B05A Email April 19, 2000 12:46 a.m. Ashland to Al Need witness; Lack of foundation and
Buthe X authentication; Inadmissible hearsay

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EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
805B Attachment to email, Letter April 19, 2000, Pete Need witness; Lack of foundation and
Seda to Aqeel al Aqeel X authentication; Inadmissible hearsay
806 Need witness; Lack of foundation and
Qo} Letter April 19, 2000, Pete Seda to Aqeel al Aqeel Xx authentication; Inadmissible hearsay
a 807 Email July 5, 2000, 11:52 a.m. Need witness; Lack of foundation and
| PJFlorin@jeffnet.org to Pete Seda plus attachment X authentication; Inadmissible hearsay
qY
q807 A Need witness; Lack of foundation and
Ou Draft letter to Shiukh (PF) x authentication; Inadmissible hearsay
2808 ASHLAND DAILY TIDINGS September 15, 2001 X Inadmissible Hearsay
N809 Letter September 18, 2001, Al Haramain
4 Foundation, signed by Pete Seda, to Office of Need witness; Lack of foundation and
o Emergency Relief, City of New York Xx authentication; Inadmissible hearsay
W809 A Need witness; Lack of foundation and
Letter September 18, 2001 to NYC (PF) Xx authentication; Inadmissible hearsay
4 810 Letter September 18, 2001, Pete Seda to State Need witness; Lack of foundation and
x Department Xx authentication; Inadmissible hearsay
q 810A Need witness; Lack of foundation and
g Draft September 2001 Justice for All (PF) Xx authentication; Inadmissible hearsay
CG
4810 B Need witness; Lack of foundation and
Draft September 2001 Justice for All (PF) X authentication; Inadmissible hearsay
q 811 Letter September 18, 2001, Pete Seda to Office of Need witness; Lack of foundation and
od Emergency Relief X authentication; Inadmissible hearsay
& 812 Letter September 20, 2001, Pete Seda to My Dear Need witness; Lack of foundation and
“ Brothers and Sisters, Call for Islamic Outreach X authentication; Inadmissible hearsay
qa
uf B12A Need witness; Lack of foundation and
‘ Call For !slamic Outreach (PF) X authentication; Inadmissible hearsay
G 813 Need witness; Lack of foundation and
Ci Letter to State Department 9/18/2001 (PF) xX authentication; Inadmissible hearsay
813A Letter September 20, 2001, Secretary of Health
and Human Services, Tommy Thompson, from Need witness; Lack of foundation and
Pete Seda xX authentication; Inadmissible hearsay
814 Mail Tribune article, September 20, 2001 Xx Inadmissible Hearsay

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EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
815 Need witness; Lack of foundation and
Letter to the Editor by Pete Seda Xx authentication; Inadmissible hearsay
Bi5A Need witness; Lack of foundation and
23 Press Release "From The Muslim Heart" (PF) Xx authentication; Inadmissible hearsay
816 Email September 21, 2001, 9:15 p.m. Marisa Need witness; Lack of foundation and
A Petersen to Qu’ran Foundation Xx authentication; Inadmissible hearsay
817 Email September 23, 2001, 10:59 a.m. A to Need witness; Lack of foundation and
eu letters@tucsoncitizen.com Xx authentication; Inadmissible hearsay
818 Email September 23, 2001, 6:45 p.m. A to Need witness; Lack of foundation and
a Oelrichs@rockymountainnews.com Xx authentication; Inadmissible hearsay
93819 .|September 23, 2001, 7:31 p.m. A to Need witness; Lack of foundation and
a letters@washpost.com Xx authentication; Inadmissible hearsay
iI820A Email September 26, 2001, 11:04 a.m. Florin to Need witness; Lack of foundation and
Pete Seda X authentication; Inadmissible hearsay
1820 B Letter September 26, 2001, Pete Seda to Senator Need witness; Lack of foundation and
S Wyden X authentication; Inadmissible hearsay
a820C Need witness; Lack of foundation and
g Letter Form: Educational Outreach Services (PF) Xx authentication; Inadmissible hearsay
qq
A 821 Letter October 2, 2001, Congressman Greg Need witness; Lack of foundation and
Walden to Pete Seda X authentication; Inadmissible hearsay
<j 822 Letter October 2, 2001, Pete Seda to Dear Spiritual Need witness; Lack of foundation and
oc Leader X authentication; Inadmissible hearsay
1823 Letter October 5, 2001, Federal bureau of Irrelevant; Need witness; Lack of foundation
9 Investigation Thomas J. Pickard to Pete Seda X and authentication; Inadmissible hearsay
g
L824 Email October 7, 2001, 2:28 p.m. The Arborist to Irrelevant; Need witness; Lack of foundation
a Traci Dow xX and authentication; Inadmissible hearsay
825 Email October 7, 2001, 3:05 p.m. A to DBerger and Irrelevant; Need witness; Lack of foundation
q attachment Xx and authentication; Inadmissible hearsay
826 Email October 14, 2001, 1:16 p.m. Scarlet Irrelevant; Need witness; Lack of foundation
Ledesma to Pete@The Arborist.com X and authentication; Inadmissible hearsay
827
Reserved

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EXHIBIT
NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
828 Letter October 24, 2001, Department of the Army, Irrelevant; Need witness; Lack of foundation
Office of Chief of Chaplins, to Pete Seda X and authentication; Inadmissible hearsay
829 Letter November 19, 2001, Federal Bureau of Irrelevant; Need witness; Lack of foundation
a Investigation to Pete Seda X and authentication; Inadmissible hearsay
4g 830 Email November 27, 2001, 2:57 pm, from Peace Irrelevant; Need witness; Lack of foundation
House to recipient list X and authentication; Inadmissible hearsay
q
+831 Email November 28, 2001, 7:58 am, Victoria Lane Irrelevant; Need witness; Lack of foundation
Qo to P X and authentication; Inadmissible hearsay
4832 Announcement of community benefit concert Irrelevant; Need witness; Lack of foundation
aq Saturday, December 1, 2001 X and authentication; Inadmissible hearsay
N
4 833 Irrelevant; Need witness; Lack of foundation
a Press releases March 2002 X and authentication; Inadmissible hearsay
af
W833 A Press Release - Six Month Anniversary of 9/11 Irrelevant; Need witness; Lack of foundation
(PF) X and authentication; Inadmissible hearsay
{834 Email Pete Seda To Pat Florin, March 12, 2002 Al Irrelevant; Need witness; Lack of foundation
a Haramain Press Release (PF) X and authentication; Inadmissible hearsay
d 835 Letter March 15, 2002, Pete Seda to Senator Irrelevant; Need witness; Lack of foundation
g Joseph Biden X and authentication; Inadmissible hearsay
A 835A Irrelevant; Need witness; Lack of foundation
Letter to Biden, March 14, 2002 xX and authentication; Inadmissible hearsay
4836 A Irrelevant; Need witness; Lack of foundation
o Email October 14, 2002, from Florin to Pete Seda X and authentication; Inadmissible hearsay
& 836 B Attachment to Email October 14, 2002, Florin to Irrelevant; Need witness; Lack of foundation
$ Pete Seda X and authentication; Inadmissible hearsay
q
“836 C Irrelevant; Need witness; Lack of foundation
“+ Letter to Scholars Of The Ummah (PF) Xx and authentication; Inadmissible hearsay
4837
QReserved
838 Letter November 4, 2002, Pete Seda to Brothers in Irrelevant; Need witness; Lack of foundation
Al Haramain Islamic Foundation Xx and authentication; Inadmissible hearsay
839 Letter 10th of Sha'ban 1423 Pete Seda to Scholars Irrelevant; Need witness; Lack of foundation
of the Ummah X and authentication; Inadmissible hearsay

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EXHIBIT
NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
840 Memo January 28, 2003, Secretary of State Powell Irrelevant; Need witness; Lack of foundation
from Pete Seda xX and authentication; Inadmissible hearsay
840A Letter January 28, 2003 from Pete Seda to Charles Irrelevant; Need witness; Lack of foundation
g Mathews seeking fatwah on Bin Laden xX and authentication; Inadmissible hearsay
-j840 B Irrelevant; Need witness; Lack of foundation
q Letter to Colin Powell, January 27, 2003 (PF) Xx and authentication; Inadmissible hearsay
840 C Letter January 28, 2003 Pete Seda to David Carroll Irrelevant; Need witness; Lack of foundation
oO RE ‘slamic legal case against Osama Bin Laden X and authentication; Inadmissible hearsay
4841-852
Reserved
4853 Letter February 14, 2002, United States
5 Department of Justice, Criminal Division, to Pete Irrelevant; Need witness; Lack of foundation
J Seda X and authentication; Inadmissible hearsay
1854 Irrelevant; Need witness; Lack of foundation
a Letter July 2, 2002, Pete Seda to Dave Carroll Xx and authentication; Inadmissible hearsay
N
Y855 Consent 10/3/01 for David Carroll to access Al Irrelevant; Need witness; Lack of foundation
g Haramain Bank Account X and authentication; Inadmissible hearsay
g 856 Photograph Pete Seda with United States UAE Irrelevant; Need witness; Lack of foundation
G Ambassador Michele J. Sison X and authentication; Inadmissible hearsay
d
857-865
Reserved
866 Irrelevant; Need witness; Lack of foundation
g Letter April 22, 2002, Pete Seda to Israeli Embassy X and authentication; Inadmissible hearsay
+866 A Email Pat Fiorin to Pete Seda, Re: Letter re Irrelevant; Need witness; Lack of foundation
La Palestinian Aid (PF), plus attachment X and authentication; Inadmissible hearsay
qc
q 867 Letter April 22, 2002, Pete Seda to Licensing Irrelevant; Need witness; Lack of foundation
$ Division, Office of Foreign Assets Control Xx and authentication; Inadmissible hearsay
Wg68 A Irrelevant; Need witness; Lack of foundation
Email April 22, 2002, P to Florin 4:43 pm Xx and authentication; Inadmissible hearsay
868 B Irrelevant; Need witness; Lack of foundation
Attached letter to Israeli Embassy April 22, 2002 x and authentication; Inadmissible hearsay

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EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
869 Irrelevant; Need witness; Lack of foundation
Email April 23, 2002 8:19 am, Brett Schor to P X and authentication; Inadmissible hearsay
ol 870 Letter May 2, 2002, Ambassador Kurtzer to Pete Irrelevant; Need witness; Lack of foundation
A Seda Xx and authentication; Inadmissible hearsay
on 871 irrelevant; Need witness; Lack of foundation
N Emails May 13,2002, PS to Benny Dagan X and authentication; Inadmissible hearsay
d872 Letter May 14, 2002, Pete Seda to Lorraine Lanlor, Irrelevant; Need witness; Lack of foundation
Oo Office of Foreign Assets Control X and authentication; Inadmissible hearsay
A873 Letter May 14, 2002, Pete Seda to Compliance Irrelevant; Need witness; Lack of foundation
oO Division Office of Foreign Assets Control X and authentication; Inadmissible hearsay
873A Letter to Office of Foreign Assets Control, Re: Irrelevant; Need witness; Lack of foundation
oO Humanitarian Aid For Palestinians (PF) Xx and authentication; Inadmissible hearsay
W874A Irrelevant; Need witness; Lack of foundation
Email May 28, 2002, 1:25 pm P.S to Florin xX and authentication; Inadmissible hearsay
874B Letter May 28, 2002, Pete Seda to Earl Wali; Irrelevant; Need witness; Lack of foundation
x attachment to May 28, 2002 letter Xx and authentication; Inadmissible hearsay
q 874C Irrelevant; Need witness; Lack of foundation
g Letter To Earl Wall, CARE, May 28, 2002 (PF) X and authentication; Inadmissible hearsay
A 875 Letter June 19, 2002, Office of Foreign Assets Irrelevant; Need witness; Lack of foundation
Control to Martin McMahon, Esquire X and authentication; Inadmissible hearsay
4 B75A Email Pat florin to P.S. June 20, 2002, Benny Irrelevant; Need witness; Lack of foundation
cd Dagan (PF) Xx and authentication; Inadmissible hearsay
876 Letter July 1, 2002, Pete Seda to Richard Irrelevant; Need witness; Lack of foundation
4 Newcomb, Office of Foreign Assets Control X and authentication; Inadmissible hearsay
g
“877 A Email July 2, 2002, 2:10 pm David Berger to Pete Irrelevant; Need witness; Lack of foundation
: Seda Xx and authentication; Inadmissible hearsay
o 877B Letter July 2, 2002, Pete Seda to Police Chief Scott Irrelevant; Need witness; Lack of foundation
G Fleuter X and authentication; Inadmissible hearsay
877 C Irrelevant; Need witness; Lack of foundation
Letter July 2, 2002, to Lieutenant Patten X and authentication; Inadmissible hearsay
878 Letter July 16, 2002, Pete Seda to Israeli Colonel Irrelevant; Need witness; Lack of foundation
Isaac Gurvich Xx and authentication; Inadmissible hearsay

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EXHIBIT
NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
879 Letter July 17, 2002, Pete Seda to Ambassador Irrelevant; Need witness; Lack of foundation
Kurtzer Xx and authentication; Inadmissible hearsay
o 880 Letter July 17, 2002, Pete Seda to United States Irrelevant; Need witness; Lack of foundation
A Embassy, Economics Section, Ava Rogers Xx and authentication; Inadmissible hearsay
a 881 Letter July 17, 2002, Pete Seda to Deborah Irrelevant; Need witness; Lack of foundation
N Schwartz, United States Embassy, Israel X and authentication; Inadmissible hearsay
q
882 Fax July 22, 2002, Ava Rogers, U.S. Embassy to irrelevant; Need witness; Lack of foundation
o Pete Seda X and authentication; Inadmissible hearsay
882 A Email Pete Seda to Pat Florin, July 22, 2003 With Irrelevant; Need witness; Lack of foundation
q Ava Rogers.jpg (PF) X and authentication; Inadmissible hearsay
41882 B Attachment to Ex 882(A), "7 22 02 Ava Rogers.jpg" Irrelevant; Need witness; Lack of foundation
q (PF) Xx and authentication; Inadmissible hearsay
qd
W883 A Irrelevant; Need witness; Lack of foundation
Email July 22, 2002, Florin to P.S 11:24 am xX and authentication; Inadmissible hearsay
3883 B Letter July 22, 2002, Pete Seda to Ava Rogers, Irrelevant; Need witness; Lack of foundation
x U.S. Embassy Xx and authentication; Inadmissible hearsay
q 883 C Letter July 22, 2002 Pete Seda to Ava Rogers
g United States Embassy Re: Humanitarian Aid in Irrelevant; Need witness; Lack of foundation
g the West Bank and Gaza (PF) X and authentication; inadmissible hearsay
884 Letter July 23, 2002, Pete Seda to lan Barukh, irrelevant; Need witness; Lack of foundation
<j Israeli Foreign Ministry Xx and authentication; Inadmissible hearsay
0885 Irrelevant; Need witness; Lack of foundation
J Letter July 26, 2002, Rabbi Zaslow Xx and authentication; Inadmissible hearsay
q
1886 A Irrelevant; Need witness; Lack of foundation
4 Email July 30, 2002, P.S to David Berger 2:28 p.m. Xx and authentication; Inadmissible hearsay
886 B Irrelevant; Need witness; Lack of foundation
d Letter Israeli government July 28, 2002 Xx and authentication; Inadmissible hearsay
($887 Irrelevant; Need witness; Lack of foundation
Fax July 31, 2002, Leah Tsemel to Pete Seda X and authentication; Inadmissible hearsay
888 Letter Pete Seda to Ms. Orley, Israel Defense Irrelevant; Need witness; Lack of foundation
Forces X and authentication; Inadmissible hearsay
889 Email August 27, 2002, Florin to P.S, with email Irrelevant; Need witness; Lack of foundation
from P.S to Florin Xx and authentication; Inadmissible hearsay

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EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
890 irrelevant; Need witness; Lack of foundation
Stained Peace of My Heart Aug 2002 (PF) X and authentication; Inadmissible hearsay
21891-905
‘4 Reserved
N906 Email February 21, 2000, 8:50 Need witness; Lack of foundation and
q p.m.wsra99@aol.com to P@af.org, X authentication; Inadmissible hearsay
21907 Email March 29, 2000, 11:32 a.m. P to Need witness; Lack of foundation and
wsra99@aol.com X authentication; Inadmissible hearsay
G9I07A Email March 30, 2000 P to Al Buthe FW: Need witness; Lack of foundation and
N Agreement Xx authentication; Inadmissible hearsay
1907 B Email March 30, 2000 P to Al Buthe FW: Need witness; Lack of foundation and
Y Agreement with attachment Xx authentication; Inadmissible hearsay
Ww
908 A Email October 26, 2001, 4:48 p.m. Sandra Kay to Irrelevant; Need witness; Lack of foundation
TI Pete Seda Xx and authentication; Inadmissible hearsay
~=1908 B Attached letter, October 26, 2001, to Steve Monroe Irrelevant; Need witness; Lack of foundation
q at Office of Foreign Assts control X and authentication; Inadmissible hearsay
q
A909 A Letter November 1, 2001, Pete Seda to Emily Clay Irrelevant; Need witness; Lack of foundation
q at Office of Foreign Assets Control X and authentication; Inadmissible hearsay
909B Letter November 2, 2001, Office of Foreign Assets Irrelevant; Need witness; Lack of foundation
Control to Pete Seda X and authentication; Inadmissible hearsay
o909 C Letter November 1, 2001 Pete Seda to Emily Clay
& Office of Foreign Assets Control application for Irrelevant; Need witness; Lack of foundation
a license to distribute food to Afhani refugees (PF) Xx and authentication; Inadmissible hearsay
q 910 Irrelevant; Need witness; Lack of foundation
a Email October 9, 2000 P to Al Buthe RE; Tajikistan Xx and authentication; Inadmissible hearsay
a 911 Email October 23, 2001 P to Al Buthe RE make it Irrelevant; Need witness; Lack of foundation
gf work out -- with attachments Xx and authentication; Inadmissible hearsay
912-924
Reserved
925 Photo Pete Seda with truck X

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EXHIBIT

NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
926
Article REGISTER GUARD, “Fate of Big Leaf
Maples in Whiteaker Up In The Air’ X Irrelevant
gy 927 Email January 20, 2000, 7:41 p.m. Brad and irrelevant; Need witness; Lack of foundation
5 Rooney Riggs to P X and authentication; Inadmissible hearsay
Cl 928 Email February 11, 2000, 6:56 p.m. Jim Hartman Irrelevant; Need witness; Lack of foundation
x to Pete Seda X and authentication; Inadmissible hearsay
O%"999 Ashland Watershed Partnership meeting notes Irrelevant; Need witness; Lack of foundation
March 28, 2000 Xx and authentication; Inadmissible hearsay
1930 Email November 17, 2000, 3:08 p.m.: Swales to Irrelevant; Need witness; Lack of foundation
N @mind.net X and authentication; Inadmissible hearsay
W931 Email April 11, 2001, 11:56 a.m. Rose Hill to Irrelevant; Need witness; Lack of foundation
Y P@af.org Xx and authentication; Inadmissible hearsay
Ww
932 Email June 24, 2001, 2:13 p.m. The Arborist to Irrelevant; Need witness; Lack of foundation
I Colin Swales X and authentication; Inadmissible hearsay
HO3B3A Email October 17, 2001, Representative Greg Irrelevant; Need witness; Lack of foundation
q Walden to Pete Seda X and authentication; Inadmissible hearsay
q 933 B Email December 6, 2001, Representative Greg Irrelevant; Need witness; Lack of foundation
QO Walden to Pete Seda X and authentication; Inadmissible hearsay
934 Irrelevant; Need witness; Lack of foundation
Photograph Pete Seda cleaning Ashland X and authentication; Inadmissible hearsay
0 935 Pete Seda on ladder X Irrelevant
2936 Pete Seda cleaning with fire people X Irrelevant
9937 Photograph The Arborist Crew X Irrelevant
938 Photograph Pete Seda with Governor Kitzhaber X Irrelevant
4939 Photograph of Pete Seda cleaning downtown
O Ashland X Irrelevant
940-941
Reserved
942 Letter To Mayor Cathy Shaw, January 31, 2000
(PF) X Inadmissible hearsay; Irrelevant

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EXHIBIT
NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
943
Reserved
0} 944 Hamrick Road Letter, April 20, 2000 (PF) X Inadmissible hearsay; Irrelevant
‘945
qj Reserved
ad
946 8/8/00 Letter to William Keller (PF) X inadmissible hearsay; Irrelevant
947-955
—{Reserved
N956 Photograph Pete Seda with children X Irrelevant
zy 957A Email March 28, 2000, 3:25 p.m. Q to P@af.org x Irrelevant
iy 957 8B March 28, 2000, letter Pete to Pastor Xx Need a witness
“|958 Email May 23, 2000, 3:20 p.m. B to P xX Need a witness; Irrelevant
3 959 Email October 22, 2000, 8:57 p.m. Kelly Bennett to
q Pete Sedaghaty X Need a witness; Irrelevant
q
5960 Email January 24, 2001, 12:13 a.m. P to
q Shalomrav@aol.com Xx Need a witness; Irrelevant
q 961 Email February 23, 2001, 1:56 p.m. Stan Way to
<j P@qf.org X Need a witness; Irrelevant
04 962 Email May 11, 2001, 10:12 a.m. James Y. Horton
q to P@af.org Xx Need a witness; Irrelevant
QC
1963 Email May 21, 2001, 2:22 p.m. Pam Long to
a P@af.org x Need a witness; Irrelevant
964 Email May 22, 2001, 11:31 a.m. Peace House to
q Pete Seda et. al. xX Need a witness; Irrelevant
(965 Email July 2, 2001, 12:53 a.m. Pete to
BLJ_maj@yahoo.com Xx Need a witness; Irrelevant
966 MAIL TRIBUNE article: Class Tries To Bridge The
Ignorance Gap Xx Inadmissible hearsay
967 Photograph class at tent X Need a witness; Irrelevant

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EXHIBIT
NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
968 Photograph multi-cultural fair X Need a witness; Irrelevant
969 Photograph Religion Class at tent xX Need a witness; Irrelevant
o
“970 Photograph presentation at church X Need a witness; Irrelevant
97 1 Email Jane Claussen to P at QF.org, January 2, Need a witness; Irrelevant; Inadmissible
4 2002 X hearsay
972 A Need a witness; Irrelevant; Inadmissible
Email January 21, 2002, 1:50 pm, P to Florin xX hearsay
S 972B Need a witness; Irrelevant; Inadmissible
q Attachment letter for Peace House Xx hearsay
a 973 Bi-line article: Islamic Show Intrigues RCC, Need a witness; Irrelevant; Inadmissible
a February 2002 Xx hearsay
u 974 Email February 1, 2002, Drake, Tommy to P at Need a witness; Irrelevant; Inadmissible
_ QF.org, 10:47 am X hearsay
Ai975 Need a witness; Irrelevant; Inadmissible
S Email February 5, 2002, Closter, Larry to Q. Xx hearsay
q
4 976 Photograph Pete Seda in church X Irrelevant
4977 Photograph of Pete Seda lecturing to students Xx Irrelevant
978 Photo- Pete Seda in Rabbi Zaslow's Temple X Irrelevant
1979-986
q d
reserve
987 Email April 11, 2000, 8:13 a.m. B to P@qf.org Xx Need a witness; Irrelevant
uf 988 Email March 13, 2002, Stan Way to P X Need a witness; Irrelevant
4289 A Email April 19,2002, P to Florin xX Need a witness; Irrelevant
989 B Attached letter to Senators and Reps xX Irrelevant; Inadmissible hearsay
990 Booklet Islam Is by Pete Seda Xx Need a witness; Inadmissible hearsay
991 Islamic T-shirt X Irrelevant
992-1001
Reserved

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NUMBER DESCRIPTION NO OBJECTION OBJECTION BASIS FOR OBJECTION
1002 Pete Seda Video Statistics X
ol 1002 A Pete Seda Vido Compilation CD X Has not been provided by defense
J 1002 B Chechnya Video Compilation CD x Has not been provided by defense
Q 1003 Summary of review of prisoner letters (to be
qu created) X Has not been provided by defense
0/1004 Letter and Check $300 November 15, 1999 X
1005 Check $50 November 20, 1999 X
41006 Check $100.00 November 20, 1999 X
< 1007 Check $100.00 December 1, 1999 Xx
a 1008 Money order $300 December 6, 1999 Xx
“11009 Check $400.00 December 20, 1999 X
“11010 Check $200.00 January 1, 2000 xX
d 1011 Check and Envelope $600.00 January 5, 2000 Xx
q 1012 Check $150.00 January 19, 2000 X
1013 Check $68.00 January 22, 2000 X
14014 Checks $50,000.00, $4,000, $196.75 January 21,
4 2000 X
q 1015 Check and Deposit ticket February 23, 2000 x
g 1016-1023
“Reserved
41024 Photograph of shrubbery X Irrelevant
C 1025A Photograph of wire Xx Irrelevant
1025 B Photograph of wire X Irrelevant
1026 Photograph of former President George W. Bush
with Saudi Crown Prince Abdullah X Irrelevant

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